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UNITED STATES DISTRICT COURT, DISTRICT OF RHODE ISLAND

Andrew Joseph Smith January 11", 2018... -, .,

  

VS,

 

Federal Bureau of Investigations (FBI)

 

And

 

State of Rhode Island
EMERGENCY INJUNCTION RELIEF AND OVERTURN OF CONVICTION MOTION
(This American invokes his United States 15‘ Amendment Right to a hearing before the court)
NOTE: | respectfully ask this motion to be reviewed by Senior Justice Mary M. Lisi Thank you!
COMPLAINT
COMPLAINT EXPLANATION:

Now comes the Plaintiff, Andrew Joseph Smith, Pro-Se, in the above titled COMPLAINT, and
moves of this Honorable Court to place an EMERGENCY SENTENCING INJUNCTION upon the RI
Superior Court, to delay my sentencing on January 224, 2018, until this motion is heard and all
pre-trial evidence being submitted is reviewed before the United States District Court, District
of RI. This Plaintiff contends that VIA submitted motion, evidentiary proof, the United States
Federal Government (FBI) and the RI Attorney General has fabricated false criminal evidence
and placed illegal criminal charges upon this Plaintiff, in violation of United States and Rhode
Island “DUE PROCESS OF LAW” and brought him before the court to an illegal trial, in multiple
violations of his rights to exercise of the United States and RI Constitutions. This Plaintiff
contends that the State of RI Attorney General and RI Superior Court, has violated in excess, so
many Ri and United States laws, that the State of Ri and its judiciary, should not be afforded

_ any favorable court bias rights to the United States 11% Amendment due to fact, the RI
Attorney General Prosecutor has committed acts of omission constituting gross, willful and
wanton negligence in aiding and abetting the FBI with “NO POSSESSION OF EVIDENCE”. then
any more inviolate and equal 1% Amendment rights to the United States Constitution, of which
this Plaintiff should equally, ethically and lawfully be afforded.

On October 17", 2014 The State of Rhode Island had charged me with the crime of
KNOWLEDGE of a crime. No possession of any kind has occurred or been submitted or litigated
to the RI Superior Court, as any evidence of possession other than KNOWLEDGE of possession.
In violation of my 18 Amendment Right to possession of the mind, temporal thinking capacity in
terms of KNOWLEDGE, this Plaintiff has been convicted through submitted CYBERSPACE,
wireless, non-tangible, non-possession, computer generated non-real. person, cartoon-like
images. The FBI illegally testified and provided phony pictures to a jury of which said pictures

 
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were not from my paid for or owned IP Address Server or that of my personal email address.
The State of RI Prosecution, with unlawful assistance from the United States Federal
Government, (the FBI) levied charges upon this Plaintiff with the FBI being in violation of United
States Code (USC) and Federal Law. This Plaintiff through use of Federal Criminal Law and
Federal Criminal Rules of Court Procedure, intends on confirming that fact through his United
States Constitutional Rights being afforded through this United States District Court. This
Plaintiff contends that the FBI branch of the United States Government is in direct violation of
the United States 4" and 15 Amendment.

In advance, this Patriotic American would like to thank you for your lawful and ethical
Constitutional decision to hear of my motion, made respectfully in remembrance to our U.S.
Constitutional Forefathers.

1. CLAIM for RELIEF motioned to be granted: This Plaintiff through State of RI court
hearings and documented transcripts, has proven to the State of RI Superior Court, that
beyond any possible doubt, the State of RI with illegal and unlawful bias and conspiracy
of the FBI, has violated of my rights to DUE PROCESS OF LAW and that of the U.S.
Constitution | 15* Amendment. Furthermore, the judiciary of the State of Rl is in direct
violation of my following civil and constitutional amendment rights. This Plaintiff seeks
an immediate time of the essence, CLAIM for relief in the form of a docketed U.S.
District Court OVERTURN OF CONVICTION is requested by this court and a U.S. District
Court ordered INJUNCTION, is requested by this Honorable Court to halt the RI Superior
Court from executing a cruel and unusual criminal sentence upon me in violation of my
VII, 8 Amendment Constitutional Right, until legally, lawfully and ethically, the United
States District Court hears of my submitted and docketed, OVERTURN OF CONVICTION
MOTION. More documented evidence of State of RI and Federal Law violations have
been listed below.

2. VENUE OF COURT: This Plaintiff of whom is no longer a Defendant in the RI Superior
Court, seeks to invoke of his 15* Amendment Constitutional Right to be heard before this
United States District Court, for the purpose of an Injunction and overturn of conviction
to be placed upon the State of RI Superior Court. This Plaintiff requires of his
constitutional right to a pre-trial hearing and hopefully trial, needed and requested, due
to the RI Superior Court, not following their own RI Rules of Court Procedure, not
following submitted enacted RI General Law and denying me a motion of Stay of
execution, while awaiting a now defunct appeal decision by the RI Supreme Court, for
an overturn of conviction, as previously submitted by this Plaintiff, by appeal to the RI
Supreme Court. Due to the RI Superior Courts refusal to submit my paid for transcripts
to the RI Supreme Court, the RI Supreme Court clerk’s office refuses to provide me with
a RI Supreme Court Case # Number.

 
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3. Alllegal remedies of post-conviction relief within the RI Court system have been
exhausted. U.S. District Court Law violations by the FBI, are also listed below and this
Plaintiff contends that he has the right to use the United States District Court to uphold
of and exercise of his United States and RI Constitutional rights. This Plaintiff contends
that the United States Federal Government, (The FBI branch of law enforcement) in
violation of Federal United States Code (U.S.C.) has committed violations of U.S.C. and
Constitutional crimes upon this Plaintiff. RI Superior Court documentation of these
‘factual committed crimes has been attached to this motion.

4. COMPLAINT: The RI Superior Court has denied my motion, to allow this Plaintiff (The
Defendant in RI Superior Court) to be allowed to remain free on bail, with a Stay of
Execution while awaiting a decision from the Ri Supreme Court. This Plaintiff cannot
motion for a Stay of Execution to the RI Supreme Court without transcripts and a
Supreme Court Case #, of which the RI Court System will not provide this Plaintiff either.
Which in turn has exhausted my avenues within the RI Court System to be provided with
any justice. Under the RI rules of court procedure, the RI Superior Court had docketed
my appeal on November 17°, 2017. According to rules of procedure, until the RI
Supreme Court issues a Ri Supreme Court Case number #, this Defendant in that case
cannot motion to the RI Supreme Court for a Stay of Execution. THE RI SUPERIOR
COURT IS REFUSING TO ISSUE AND FORWARD TO THE RI SUPREME COURT MY
COMPLETED TRANSCRIPTS. TRANSCRIPTS OF WHICH | BORROWED MONEY FROM MY
PATRIOTIC FAMILY, AT AN EXTREME FINANCIAL BURDEN TO MY DEAR FAMILY, DUE
TO MY BEING DENIED THE RIGHT TO PROCEED IN THE RI SUPERIOR COURTS SYSTEM
IN FORMA PAUPERIS. IN A DOCUMENTED ACT OF JUDICIAL EXTORTION, | HAVE PAID
THE RI SUPERIOR COURT IN FULL FOR MY TRANSCRIPTS. NOW DUE TO
UNPRECEDENTED AND TRANSCRIPT DOCUMENTED “JUDICIAL CRIMES” BEING
PERPETRATED UPON THIS DEFENDANT, IN VIOLATION OF HIS U.S. AND RI INVIOLATE
CONSTITUTIONAL RIGHTS, TO “DUE PROCESS OF LAW”, THE RI SUPERIOR COURT IS
REFUSING AND NOT FOWARDING TO THE RI SUPREME COURT MY TRANSCRIPTS
WITHIN THE 60 DAY TIME FRAME ALLOWED BY THE RI SUPREME COURT. BY NOT
MEETING THIS EXPIRED 60 DAY TIME FRAME ALLOWED RI APPELATE RULE # 11-
Transmission of the record-Jurisdiction of Supreme Court and trial court over appeals.-.
THE RI SUPREME COURT ACCORDING TO THE COURT CLERK, WILL NOT HEAR OF MY
APPEAL NOR GRANT ME A STAY OF EXECUTION OF SENTENCE WITHOUT TRANSCRIPTS.
Therefore, this Plaintiff asserts that after exhausting all legal post-conviction remedies
within the State of RI Court System, the RI Superior Court is denying me of my United
States and Rhode Island Constitutional Rights. THIS ACT OF TRANSCRIPT INJUSTICE, IS
BEING PERPETRATED FOR THE PURPOSE OF CLANDESTINELY PROTECTING AND
SHELTERING OF A FELLOW COLLEAGUE AND MAGISTRATE, (RI TRAFFIC TRIBUNAL
MAGISTRATE ALAN R. GOULART) FROM HIS ILLEGALLY COMMITTING RI AND U.S,
CRIMES UPON THIS PLAINTIFF IN VIOLATION OF BOTH U.S. FEDERAL AND RI GENERAL

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LAW. This Plaintiff asserts he has full Constitutional Rights, and American moral rights,
to proceed with his motion through this Honorable U.S. District Court for an overturn of
conviction, pleaded for through the United States District Court.

5. FORMAT OF MOTION: This Plaintiff does not have any formal legal training and relies on
the Constitution of both the United States and the State of Rhode Island as well as
Federal Rules of Criminal Procedure last amended on December 16", 2016, (114%
Congress) to give explanation and to exercise and present of his constitutional rights.
Any Court Rule of Procedure mistakes made by this Plaintiff are not of his fault. The
State of RI has frozen all of my assets in their Family Court System and awarded an
unprecedented illegal divorce settlement, to my estranged wife in the sum of leaving
me with a negative balance of over -S 200, 000.00 of debt. (A whole different Federal
subject and case). On July 25", 2016 RI Family Court Justice Patricia K. Asquith denied
me any shared marital assets, motioned for the purpose of hiring a lawyer to proceed in
the United States District Federal Court System. Justice Asquith asked permission of the
Plaintiffs lawyer to give $5,000.00 to this Defendant for a Federal Attorney and the
Plaintiffs Attorney denied the request. LUDICROUS! THE RI LAW FIRM OF
KIRSHENBAUM AND KIRSHENBAUM INSTRUCTS COURT JUDGES ON PROCEEDINGS OF
A PERSONS CONSTITUTIONAL RIGHTS. A copy of those transcripts is attached. Pages
179 thru 184. The entire RI Court System refuses to allow me to proceed in Forma
Pauperis, yet twice the U.S. District Court has acknowledged my indigency and Granted
in Forma Pauperis to this Plaintiff, through Justice John J. McConnell Jr. on October 24%,
2017 and November 16", 2017. Thank you Justice McConnell ! This Plaintiff contends
that the Federal Rules of court Procedure do not take precedent over the United States

‘Constitution. The respectful rules of procedure have not been voted upon by the
“WHOLE OF THE PEOPLE OF THE UNITED STATES OF AMERICA” and I respectfully plead
as an American to this Honorable Court, to provide a hearing my docketed motion.
Thank you! Furthermore, on a minimum of four occasions verbally motioned for, the RI
Superior Court has not granted me the rights to a Public Defender. (If this Federal Court
is ever able to obtain my transcripts from the RI Superior Court? Proof of this VI Sixth
Amendment violation will be proven through transcript). Thank you!

6. DENIED STATE OF RI MOTION: Please find the attached RI Superior Court motion of
which was denied on January 10", 2018. This Plaintiff will within the next 48 hours
provide a detailed LINE OF TRAVEL OF CASE with a listing of all Constitutional, as well as
RI and Federal Laws (USC) in which the State of RI and the Federal Government (FBI) are
violating upon this Plaintiff.

 
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7. Wherefore, this Plaintiff respectfully requests of this United States District Court to
provide relief to this Plaintiff in form of an INJUNCTION and STAY OF SENTENCE until
this Honorable Court can schedule a hearing to provide of a decision on the above
stated matters.

8. ADDENDUM AND LINE OF TRAVEL OF CASE, WILL FOLLOW WITHIN 48 HOURS:

Respectfully submitted,

Andrew Joseph Smith

CERTIFICATE OF SERVICE

| hereby certify that | mailed a copy of this document to the Federal Bureau of Investigations
(FBI) located at 10 Dorrance Street, Providence, RI 02903. Also, | have mailed a copy of this
document to the RI Supreme Court, located at 250 Benefit Street, Providence, RI 02903, on the
11% Day of January, 2018.

Prdaef Sat

Andrew Joseph Smith

 
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StateofRi Leaac oh us 4 Tans Superior Court
Providence, SC. a _ CA.NO: P2-2015-0553A
State of RI Re = GC f= iV FD January 8", 2017

VS. JAN 08 2018
Andrew Smith 1 OFFICE OF ATTORNE, GENERAL

 

 

ADDENDUM TO IT DOCKETED ON DECEMBER 29", 2017
(PLEADING FOR CONVICTION REVERSAL DUE TO U.S. CONSTITUTIONAL VIOLATIONS)

This Defendant invokes of his United States Constitutional Right to the 1st Amendment of the
United States Constitution and RI Article |, Section 1 as well as Article | Section 21.-Freedom of
Speech- in both Constitutions to read my motions verbally out loud and to be recorded on court
transcript on the docketed RI Superior Court hearing date of January 10%, 2018. This Defendant
requires of this right, due to the RI Supreme Court will not hear of motions and only of directly
relayed court stenographer transcripts, needed for my current appeal of this case.

Now comes the Defendant Andrew Smith, Pro-Se, in the above titled matter. This Defendant
respectfully pleads before RI Superior Court Justice Luis M. Matos to overturn of the ILLEGAL
and UNCONSTITUTIONAL conviction of which RI Superior Court Justice William E. Carnes has
executed upon this Defendant. FURTHERMORE, with no disrespect intended towards Justice
Luis M. Matos, this Defendant and American Born Citizen, constitutionally places an absolute
and final DEMAND upon this RI Superior Court to overturn of my conviction, as the RI Superior

Court is in documented and court transcripted violation of the Constitution of the United States @
of America.

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A Petition for a Writ of Certiorari has been submitted to the RI Supreme Court within this
matter on November 7*, 2017 and has not been ruled upon by the RI Supreme Court as to date
of this motion. NOTE: Justice William E. Carnes Jr. disregarded the RI Supreme Courts Petition
for a Writ of Certiorari on November 7*, 2017 and unlawfully proceeded with a judicially bias
trial in favor of the state, including that of violating my United States 1S‘ Amendment Right to
give an opening statement to the Jury on November 7*, 2017. Confirmation of Judge Carnes 1
Amendment violation as well as his violation of the United States Constitution 5 Amendment
and 6"" Amendment can.be found in the provided transcript of November 20*, 2017. Pages 21
thru 22 of provided transcript. Clearly states that Justice Carnes by his own admissions is in
violation of my 1% and 5 Amendment constitutional Rights as he refers to on page 21, line #19
as the courts (Judge Carnes) quote “potential error”: end quote.

In other transcripts not being legally provided to this Defendant purposely delayed by Justice
Carnes to prevent my RI Supreme Court Appeal, in effort to run out the RI Supreme Court
Appeal clock, in a 60-day request for transcripts from his court. This Defendant has paid for in
full and requested all transcripts from Stenographer Patti Ahearn on November 9th 2017.

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Under the bias influence of Justice Carnes, towards his court stenographer Patti Ahearn, in an
effort for Justice Carnes to conceal of his unlawful and unconstitutional actions, Patti Ahearn is
refusing to submit the requested transcript to the RI Supreme Court in the time allotted for an
appeal before the Supreme Court. Total transcripts of trial paid to date, is paid in full at $
1,440.00. On December 21%, 2017. Attachment of received deceptive and extortionary emails
from Patti Ahearn is attached.

JURISDICTION: (15). Almighty God has Supreme jurisdiction over all courts and laws of this
nation and worldwide.

1. (2°). The United States Constitution is the Supreme Law of this nation. All laws
inconsistent therewith the United States Constitution are deemed to be null and
void.

2. (3°4), The Constitution of the State of RI is the Supreme law of the State and any
law inconsistent therewith shall be void,

3. ANY SWORN AND APPOINTED MEMBER OF RI GOVERNMENT and JUDICIARY
WHO HAS BEEN MADE AWARE OF DOCUMENTED, UNCONTESTABLE
VIOLATIONS OF RI LAW, AND THE RI CONSTITUTION HAS A SWORN DUTY TO
REMEDY THE VIOLATION IMMEDIATELY. PER RI CONSTITUTION ARTICLE I,
Section 5-Entitlement to remedies for injuries and wrongs-Right to justice-.
JUSTICE IS DEMANDED IN FORM OF CONVICTION REVERSAL, BEFORE JUSTICE
LUIS MATOS ON JANUARY 10", 2018 WITHOUT DELAY! Thank You!

4, VENUE OF COURT: (1). This Defendant contends that the dismissal courtroom of
# 9 within the RI Superior Court is the correct venue of the submitted motion, as
courtroom # 9 is the venue for all dismissal motions. (2). Justice Luis Matos on the
date of May 24", 2017, erred in his judgement to allow State of RI Prosecutor
Ryan Stys to proceed with criminal charges, PENDING FURTHER INVESTIGATION |
and a trial when there was no search or arrest warrant issued for the Defendant.
Within return of the enacted Ri General Law illegally issued search warrant there
was also no physical evidence seized either. Prosecutor Ryan Stys confirmed of
these facts at the 9.1 dismissal motion and stated he would Prosecute of this
Defendant based on non-tangible evidence of which he claims is Knowledge of a
crime. Justice Matos in violation of an American’s Right to the 4° Amendment of
the United States Constitution allowed of this unconstitutional crime to be
committed upon this Defendant. Prosecutor Ryan Stys had motioned for his
unconstitutional case to be moved for trial based upon a fictitious legal definition
term of which he made up and refers to as “legal possession”. Definitions of
words are comprised through the science of “LEXICOLOGY”. There is no such
physical word through lexicology as “legal possession” it is just a legal metaphor

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in which Prosecutor Stys had made up to pursue of this illegal charge in favor of
him trying the case based upon a person’s “KNOWLEDGE”. Let this court be
advised that “KNOWLEDGE” is an inviolate 15%* Amendment U.S. Constitutional
Right. On the Day of May 24", 2017, in violation of the Canons of Judicial Ethics,
violation of the United States Constitution, violation of the RI Constitution,
violation of Rt General Laws and RI Rules of Court Procedure, Justice Matos
afforded Prosecutor Stys a second helping to the proverbial trough of
Prosecutorial and Judicial corruption. “I am not a lawyer, | apologize for my
trough euphemism, with my lack of legal vocabulary” to exercise my intention
within these matters. This Defendant has no choice but to seek remedy for his
unconstitutional and illegal trial and conviction by Justice William E. Carnes Jr., for
the fact that Justice Carnes in violation of the R! Rules of Court Procedure and the
Canons of Judicial Ethics, refuses to hear of my correctly and legally submitted
motion on December 29", 2017. On the Day of January 2", 2017 at the time of
11:08 a.m. Justice Carnes, unethically and in violation of the Canons of Judicial
Ethics, ordered a Ri Superior Court clerk by the name of Paul within the RI
Superior Court Clerk’s office to relay a threat from Carnes to this Defendant by
saying and | quote” Forget about your motions and focus on your sentencing “end
quote. NOTE OF IMPORTANCE: Many employees of the court clerk’s office have
treated me with disrespect and unfairly in bias instructions allegedly relayed by
Justices of the RI Superior Court. The Gentleman by the first name of “Paul is not
one of them”. Paul is an HONEST and TRUE AMERICAN, very polite, courteous,
unbias and an absolute contribution to the American Justice System, as well as
the RI Superior Court System. Some specific others within your office, please
remirid yourselves, you are not judges and you should not be influenced by
unlawful actions of judges, and learn from Paul’s integrity. | have always been
polite and courteous to all court employees and expect nothing less from you as
Americans. Thank You! Upon bias, unethical and unlawful actions of Justice
Carnes, and upon my demanded lawful request, Paul in effort to not be bias, took
the time, effort and courtesy upon my lawful Ri Rule of Court Procedure request,
to re-docket this motion to the dismissal courtroom # 9 of Justice Luis M. Matos.

5. KNOWLEDGE: Knowledge is not ours, we have no control over it. Knowledge is of
the mind. The “MIND” is a possession and creation of “ALMIGHTY GOD”. How do
we know that? The Constitution of the State of RI Says so. By virtue of Article |,
Section 1. and Article VI, Section 1.- Constitution supreme law of the state- “This
Constitution shall be the supreme law of the state, and any law inconsistent
therewith shall be void. The general assembly shall pass all laws necessary to
carry this constitution into effect”-.

 
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6. According to the RI Constitution, Article |, Section 3. Clearly states as follows:
Whereas ALMIGHTY GOD hath created the mind free; and all attempts to
influence it by temporal punishments or burdens, or by “civil incapacitations”,
tend to beget habits of hypocrisy and meanness; ETC..... ALMIGHTY GOD is the
owner and has full “LEGAL POSSESSION” of the mind. Our RI Constitution states
so! WHEREFORE, should this Ri Superior Court seek to pursue a conviction of
what the Court assumes traveled through this Defendants mind, the court will
have to execute search, arrest warrants and criminal charges upon ALMIGHTY
GOD himself as the perpetrator of crimes involving the POSSESSION OF
KNOWLEDGE found within the human mind.

7. Therefore, knowledge is a 1%* Amendment Right and ALMIGHTY GOD has control
and ownership of the mind. Enough said and proven, THIS COURT AND ITS
ILLEGAL TRIAL ACTIONS ARE IN DIRECT VIOLATION OF THE UNITED STATES 15°
AMENDMENT, WITHOUT ANY COURT OR LEGAL EXCEPTION, PERIOD!!!

8. TRANSCRIPTS: (1). This Defendant requires ruling from Justice Matos on whether
or not my paid for RI Superior Court transcripts can be held hostage by
stenographer Patti Ahearn, through influences of unconstitutional actions by her
superior, Justice William Carnes.

9. (2). This is not the 1°‘ time transcripts have been held hostage by this court to
this Defendant. in a separate illegal and unconstitutional case, in definite RI
Superior Court conspired violation, of enacted RI General Laws, in which I’m
unlawfully being charged with breaking and entering of my own home? by an
insane and estranged wife, of whom her acting life mother is RI Family Court Chief
Justice Haiganush R. Bedrosian, in which “HAIGI” has assisted my wife to extort
my entire life savings in excess of one half million dollars? Leaving me with ZERO
money and nothing of my wife’s State of Rhode Island pension, $ 250,00.00 of
debt when our combined estate is over one half million dollars, within a 28-year
peaceful marriage. “ONLY IN RHODE ISLAND” ILL BE SURE TO OFFER A SINCERE
WELCOME TO AMERICA, TO “HAIGI’S” INDEBTED PAL “PATTI”, RI FAMILY
COURT ASSOCIATE JUSTICE PATRICIA K. ASQUITH IN THE UNITED STATES
DISTRICT FEDERAL COURT PROCEDINGS” and if need be the United States
Supreme Court. {In RI Superior Court CA.NO: P2-2015-3245ADV. In violation of (RI
General Law 8-10-37-Report of trials-Transcripts), Your stenographer Donna
Dumont, in violation of RI Rules of Procedure extorted me for the sum of $ 10.00
per page for transcripts needed for my Writ of Certiorari or stated she would not
produce them for 4 months. RI State law on transcripts is not to exceed $ 3.00 per
page. Donna Dumont said she would type and produce transcripts within 1 week
for the sum of $ 5.00 per page. “I knew it was extortion but did agree, and still

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honor my word and agree to the $5.00 amount per page. | figured what the
heck, the judges are all committing documented, transcript criminal acts of
extortion and financial extortion upon me, why not let the stenographer too!”
P.S, the transcript amount | was charged is 350% more than allowable by RI
Rules of Court. What | did not agree to, was Donna doubling the extorted amount
again? to $10.00/page. Maybe when Donna gets a chance by end of business
today, she could be so kind as to refunding me $ 5.00/ page, and we let bygones
be by bygones, without me having to press charges with the RI State Police and
the United States Department of Justice, For fraud and extortion. Total amount
due in refund is $5.00/ page, $ 85.00 Total. Cash payment will be accepted.
Thank you, kindly Donna!

|! WANT ALL MY 100% PAID FOR TRIAL TRANSCRIPTS FROM STENOGRAPHER
PATTI AHEARN IN REGARDS TO CASE # P2-2015-0553, | WANT JUDGE MATOS TO
SET A RULING ON TRANSCRIPTS, | WANT THEM SENT TO THE RI SUPREME —
COURT IMMEDIATELY, AND I DEMAND A TIME RULING ON THESE TRANSCRIPTS
FROM JUSTICE MATOS ON JANUARY 10", 2018. THANK YOU FOR THE JUSTICE!

ILLEGALLY SEIZED EVIDENCE INADMISSIBLE 9-19-25: LET ME BE CLEAR; All
evidence submitted to this court by the prosecution has been illegally obtained as
there are NO SIGNED OR EXECUTED WARRANTS AT ALL! All court actions have
been illegal due to this Defendant not being provided my Constitutional Rights to
DUE PROCESS OF LAW.

RULE 403: In violation of RI Court Rules Judge Carnes violated Rule # 403-
(Exclusion) of relevant evidence on grounds of prejudice, confusion or waste of
time-. Judge Carnes allowed my wife to read a letter to the jury not relevant to
this case at all in favor of the prosecution of whom never submitted this letter as
pre-trial evidence at any motioned hearing, of which was not truthful and was
stolen from another person’s property by the Cranston Police Department, of
which the Cranston Police Department entered another person’s home without
warrants and seized of this letter, then the Cranston Police relayed this letter to
my wife for her to read in court. EXTREME 4*° AMENDMENT VIOLATION.
JUDICIAL and PROSECUTORIAL CORRUPTION times 1,000 %.

SENTENCING AND JUDGEMENT: RULE #32. (2). Notification of Right to Appeal. At
no time did Judge Carnes notify of my right to appeal, yet unethically directed me
to ask for a new trial, under which RI New trials had been Repealed. Judge Carnes
even directed court clerks to docket me for a new trial, | never submitted a

motion to the court for new trial, judge Carnes took it upon himself to docket the

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case for a new trial. (2). Report: To date this Defendant nor the court has been
presented with a presentence report by the RI Attorney General.

14. STAY OF EXECUTION: This Defendant of whom has an outstanding Writ of
Certiorari and Appeal before the RI Supreme Court, pleads of this court under rule
# 9-25-4. Stay of Execution to remain free on bail until the RI Supreme Court Rules
on my matter of being deprived of DUE PROCESS OF LAW. This Defendant further
pleads a stay of execution through Rule # 38. Stay of execution and relief pending
review-. And last but not least a stay of execution through Appellate Rule # 8-Stay
or Injunction pending appeal.

15. WHEREFORE, This Defendant pleads of this court to mend of their errors in form
of true American Justice and reverse this Defendant’s conviction as well as
dismiss of all charges at this time.

16. P.S. Please bear in mind Justice Matos that the RI and United States Constitutions
take precedent over any and all court rules not voted on by the whole of the people
of RI, in referencing to any of my incorrectly submitted rules of procedure. AND if
pleading doesn’t work remember “I’m always respectful and courteous enough to
extend you a polite gesture nod when you are getting your coffee at the Cable Car
Cinema”.

In a judicial system team and prosecutorial team of which unethically without following court
rules, “PROTECTS OF ITS OWN”: What the HECK, figured I’d throw the coffee comment in, No
one else in this RI Court System is interested in justice or following the rules anyways!

Respectfully Submitted,
)
Adv Sindh
Andrew Smith, Pro-Se
CERTIFICATE OF SERVICE

| hereby Certify that on the 8" Day of January, 2018, | mailed a copy of this addendum motion to
Prosecutor David Bonzagni, at the office of the RI Attorney General located at 150 South Main
Street, Providence RI, 02903.

Adar Ssh

Andrew Smith

 
